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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

 ADAM STEELE, BRITTANY
 MONTROIS, and JOSEPH HENCHMAN,
 on behalf of themselves and all others
 similarly situated,

         Plaintiffs,

 v.                                                             Case No. 1:14-cv-1523-RCL

 UNITED STATES OF AMERICA,

         Defendant.


                                                  ORDER

       For the reasons stated in the accompanymg Memorandum Opinion, it is hereby

ORDERED that Plaintiffs' Motion for Summary Judgment [175] is GRANTED in part and

DENIED in part and Defendant's Motion [173] for Partial Summary Judgment is GRANTED in

part and DENIED in part.

       It is further ORDERED that the PTIN and vendor fees for FY 2011 through 2017 were

unlawfully excessive under the IOAA to the extent that they were based on the following activities:

                       •   All activities already conceded by the government in this
                           case.

                       •   Any Compliance Department activities other than (1)
                           investigating ghost preparers· (2) handling complaints
                           regarding improper use of a PTIN, use of a compromised
                           PTIN or use of a PTIN obtained through identity theft; and
                           (3) composing the data to refer those specific types of
                           complaints to other IRS business units.

                   •       All Suitability Department activities.

                   •       The portion of support activities that facilitated provision of
                           an independent benefit to the agency and the public.




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                      •    The portion of Accenture's activities as a vendor that
                           facilitated provision of an independent benefit to the agency
                           and the public.

       It is further ORDERED that the case is remanded to the IRS to determine an appropriate

refund for the class as follows:

                   •      The IRS shall determine in a manner consistent with the
                          accompanying Memorandum Opinion the amount of the FY
                          201 1 through 2017 .PTIN and vendor fees it lawfully charged
                          return preparers by subtracting from the foes it actually
                          charged a reasonable estimate of the cost of the activi ties
                          identified above as being invalid bases for an IOAA fee.

                   •      In determining the lawful amount charged and the
                          corresponding refund, the IRS shall use the 2010 Cost Model
                          and fee amount of $50 as the baseline for the FY 2011
                          through 2015 PTIN fees and the 2015 Cost Model and fee
                          amount of $33 as the baseline for the FY 2016 and 2017
                          PTIN fees. However, the IRS may look to later cost models
                          for assistance in identifying costs that were improperly
                          included in the 2010 and 2015 Cost Models.

                   •      In determining the lawful amount charged and the
                          corresponding refund, the IRS shall use its initial contract
                          with Accenture and fee amounts of $14.25 for new
                          registrations and $13 for renewals as the baseline for the FY
                          2011 through 2016 vendor fees and the subsequent contract
                          (to the extent it contemplates different activities) and fee
                          amount of $17 for the FY 2017 vendor fee.

                   •      The IRS shall not offset the amount due to the class at this
                          juncture based on fees it could not or did n ot assess
                          following thi s ourt s later-vacated injunction against the
                          assessment of all PTIN fees.

                  •       When the IRS has completed this review on remand, the
                          government shall file a notice in this Court informing
                          plaintiffs and the Court of the refund it has estimated to be
                          appropriate.

      The Court will retain jurisdiction for purposes of further proceedings to follow thereafter.




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       The parties are ORDERED to file within 30 days of the issuance of this Order and every

30 days thereafter a joint status report informing the Court of the status of the IRrs work on

remand until such time as that work is complete.

       It is further ORDERED that plaintiffs' challenge to the information asked for on PTIN

applications was improperly raised.

       It is further ORDERED that Defendants' Motion [174] for Leave to File Under Seal is

GRANTED, Plaintiffs' Motion [177] for Leave to File Under Seal is GRANTED, Defendant's

Motion [184] for Leave to File Under Seal is GRANTED, Plaintiffs' Motion [187] for Leave to

File Under Seal is GRANTED, Plaintiffs' Motion [206] to Modify the Draft Order is DENIED,

Plaintiffs' Motion [207] for Leave to File Under Seal is GRANTED, Plaintiffs' Motion [211] to

File a Surreply is GRANTED, and Plaintiffs' Request [218] for Judicial Notice is DENIED.

       The Memorandum Opinion was filed under seal because it references documents the

parties filed under seal. It is hereby ORDERED that the parties meet and confer and jointly

identify which, if any, parts of the Memorandum Opinion should remain sealed within five days.

       IT IS SO ORDERED.




                                                               Royce C. Lamberth
                                                               United States District Judge




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